 4:06-cr-03019-RGK-DLP         Doc # 18     Filed: 02/23/06    Page 1 of 1 - Page ID # 28




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )       Case No. 4:06CR3019
                                                  )
IVAN ROJO OSUNA,                                  )
                                                  )
                            Defendant.            )

                                          ORDER

       THIS MATTER comes before the Court on defendant's Unopposed Motion to

Continue the Deadline for Filing Pretrial Motions, filing 17, from February 23, 2006, until

March 13, 2006. The Court, being fully advised in the premises, and noting that the

government has no objection, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that the defendant shall file any pretrial motions in

the above captioned matter no later than Monday, March 13, 2006. This Court further finds

that, based upon the showing set forth in defendant’s Motion, the ends of justice will be

served by extending the deadline for filing pretrial motions. Further, that taking such action

outweighs the best interests of the public and the defendant in a speedy trial. Accordingly,

the time from February 23, 2006, until March 13, 2006, shall be excluded from any speedy

trial calculation pursuant to 18 U.S.C. §3161(h)(8)(A).

       Dated this 23rd day of February, 2006.

                                                  BY THE COURT:



                                                  s/  David L. Piester
                                                  The Honorable David L. Piester
                                                  United States Magistrate Judge
